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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

                                                            No. 20-12522 (JTD)
    MALLINCKRODT PLC, et al.,
                                                            (Jointly Administered)
                            Debtors. 1


    AD HOC FIRST LIEN NOTES GROUP,

                             Appellant,                     Appeals from the Bankruptcy Court
                             v.                             Case No. 22-cv-331 (TLA)

    MALLINCKRODT PLC, et al.,                               Case No. 22-cv-330 (TLA)


                              Appellees.


     APPELLANT COLUMBUS HILL CAPITAL MANAGEMENT, L.P.’S JOINDER TO
        OPENING BRIEF OF APPELLANT AD HOC FIRST LIEN NOTES GROUP

             Appellant Columbus Hill Capital Management, L.P., in the interest of brevity and to avoid

duplicative filings, hereby joins the Opening Brief of Appellant Ad Hoc First Lien Notes Group (Dkt.

No. 39) (the “Opening Brief”), and adopts and states, in support of its appeal of the judgment of

the Bankruptcy Court in the above-captioned case, the reasons stated and the legal precedent cited

in the Opening Brief.




1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the
      Debtors’ claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The
      Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.
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Dated: May 17, 2022                Respectfully submitted,
       Wilmington, DE

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